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                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF OREGON
                                       PORTLAND DIVISION


    STEVEN HAYES, as personal                            3:18-cv-00988-AC
    representative of the estate of QUANICE
    HAYES, deceased, AND VENUS HAYES,
                                                         DECLARATION OF WILLIAM W.
                                                         MANLOVE
                  PLAINTIFFS,
                                                         (In Support of Defendants’ Unopposed
           v.                                            Motion for Extension of Time for
                                                         Completion of Expert Discovery, Filing of
    CITY OF PORTLAND, a municipal                        Joint ADR Report, and Filing Dispositive
    corporation, and ANDREW HEARST,                      Motions)

                  DEFENDANTS.


           I, William W. Manlove, being first duly sworn, do depose and say:
           1.     I am one of the attorneys representing City of Portland and Andrew Hearst
    (“Defendants”) in the above-entitled matter.

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           2.      I make this declaration in Support of Defendants’ Unopposed Motion for Extension
    of Time for Completion of Expert Discovery, Filing of Joint ADR Report, and Filing of Dispositive

    Motions.
           3.      The parties have completed fact discovery.
           4.      In accordance with the Court’s scheduling Order dated January 13, 2020 [ECF No.
    87], the parties exchanged expert disclosures and reports on February 28, 2020, and exchanged
    expert rebuttal reports on March 13, 2020.           Plaintiffs identified seven experts; Defendants
    identified five experts. Many of the expert witnesses live out of state, including in the Seattle,
    Washington area, Southern California, and the Bay Area of California.
           5.      On March 16, 2020, Oregon Governor Kate Brown declared a State of Emergency
    related to the COVID-19 pandemic, mandating various social distancing protocols. On March 17,
    2020, Governor Brown issued an executive order closing public schools until April 28, 2020.
    Plaintiffs’ counsel and defense counsel have school age children.
           6.      The State of Emergency and school closures have affected the ability of counsel to
    schedule depositions of experts. Plaintiffs' counsel and I have needed additional time to work on
    scheduling the expert depositions due to other work matters, adjusting to working remotely from
    home, (including assessing technical capabilities for teleconferencing), and new personal demands
    related to the COVID-19 pandemic. Mr. Merritthew has told me that he and Ms. Albies are now
    essentially working part time from home.
           7.       The parties are intending to move forward with scheduling the expert depositions
    remotely via different teleconferencing platforms. However, because of the COVID-19 pandemic,
    the parties are unable to complete expert witness depositions at this time and need additional time
    to complete this part of discovery.
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     ///

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           8.      The parties believe that an approximate 90-day extension of all pending deadlines
    will allow adequate time for the parties to remotely complete expert discovery, and to file

    dispositive motions after National and State emergency orders are presumably rescinded or
    modified, and social distancing restrictions are also rescinded or modified.
           9.      Plaintiffs’ attorneys, Jesse Merrithew and J. Ashlee Albies, have no objection to
    this request for an extension of time.
           10.     This motion is presented in good faith and not for reasons of delay.

           I hereby declare that the above statement is true to the best of my knowledge and
    belief, and that I understand it is made for use as evidence in court and is subject to penalty
    for perjury.

           DATED: April 3, 2020

                                                     /s/William W. Manlove ____
                                                     William W. Manlove




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